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5 _Attorneys for Plaintiff, JUDITH BRUBAKER a11 ind1v1dual on behalf of herself
6 individually and on behalf of all others Similarly Situated
7
8 UNITEI) STATES DISTRICT COURT
9 CENTRAL DISTRICT OF CALIFORNIA
10 JUDITH BRUBAKER, an individuai, Case NO, sAcv12-00929 va 1JPRx)
1 1 on behalf of themselves individually
and on behalf of all others Similarly CLASS ACTION COMPLAINT
12 Situated,
13 (1) FA]LURE TO PAY OVERTIME
Plaintiff, 1 COl\/[PENSATION;
14 (2) FAILURE TO PROVIDE
1 5 VS' LEGALLY MANDATED MEAL
PERIODS;
16 THE ENSIGN GROUP, INC., a (3) FAILURE TO PROVIDE
17 California corporation; DOES 1 LEGALLY MANDATEI) REST
through lO, inclusive, BREAKS;
13 7 (4) FAILURE TO FURNISH
19 Defendants. ACCURATE ITEMIZED
WAGE STA'I`EMENTS;
20 (5) UNFAIR CoMPETITIoN
21 UNDER BUSINESS &
PROFESSIONS CODE
22 SECTION 17200;
23 (6) WAITING-TIME PENALTIES;
24 (7) VIOLATION OF THE FLSA
25 DEMANI) FoR JURY TRIAL
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Plaintiff ludith Brubaker (“Plaintiff”), on behalf of herself individually and
on behalf of all others similarly situated, hereby files this Complaint against
Defendants The Ensign Group, lnc. and DOES l~l() (hereafter collectively referred
to as “Ensign” or “Defendants”). Plaintiff is informed and believes, and on that

basis, alleges as follows:

INTRoDUCTIoN

l. For over 50 years, California’s courts and legislature have recognized
that this State’s wage-and-hour laws serve`a compelling public interest of fostering
a stable job market. Wages are not ordinary debts. Because of the economic
position of the average worker and his or her family, it is essential to the public
welfare that employers obey the wage-and-hour laws so that employees are
promptly paid the minimum wages and overtime sums that the Legislature has
dictated as being due to employees So fundamental are California’s wage and hour
laws, that the legislature has criminalized certain employer conduct, which violates
those laws. The Fair Labor Standards Act (“FLSA”) has an equally rich history
protecting workers v

2. This is an action for violation of federal and state wage and hour laws.
Plaintiff seeks to certify a nationwide collective action under 29 U.S.C. § 216(b)
and a California class action pursuant to Federal Rule of Civil Procedure, Rule 23.
The case arises out of an ongoing wrongful scheme by Ensign to unlawfully
deprive certain of its employees the minimum benefits required by California’s
wage~and-hour laws and the FLSA.

3. Plaintiff and members of the class previously worked for, continue to
work for, or in the future will be employed by Ensign as (collectively “Class
Members” or “the Class”). ln this Complaint, “Therapists” includes all current and

former occupational therapists, physical therapists, and any other similarly-

 

 

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1 designated title or similarly-situated position. Defendants employed Therapists to
2 provide the day-to~day rehabilitative services to clients in their facilities
3 4. Since at least June 2008 to the present, Plaintiff and the Class have
11 suffered common financial harm as their employer Ensign has violated, and
5 continues to violate, (i) multiple provisions of California’s wage~and-hour laws
6 including, but not limited to, Labor Code Sections 203, 226, 226.7, 5l0, and 512;
7 (ii) the Unfair Competition Law (‘°UCL”) codified in California Business and
8 Professions Code Sections 17200, et Seq.; (iii) Industrial Welfare Cornmission
9 Wage Order 4-2001, which is incorporated into the California Code of Regulations;
10 and (iv) the FLSA. More specifically, Ensign denies Class Members statutorily~
11 mandated compensation for overtime and missed meal and rest breaks, and also
12 fails to provide accurate itemized wage statements as required by California law.
13 Ensign also denies the nationwide class statutorily~mandated overtime wages under
14 the FLSA. Accordingly, Plaintiff, on behalf of herself and the Class Members, seek
15 to recover (i) unpaid overtime compensation and interest thereon; (ii) compensation
16 for missed meal-and~rest periods; (iii) civil penalties and/or damages for failure to
17 provide accurate, itemized wage statements; (iv) waiting-time penalties; (v)
18 injunctive and other equitable relief; and (vi) attorneys’ fees and costs.
19 5. Defendants accomplish their labor law violations through systematic
20 and uniform policies that place unrealistic amounts of work on Therapists, while
21 requiring them to only report eight hours of work per day. Therapists routinely
22 perform work without pay and, almost daily, miss their meal and rest breaks.
23 Plaintiff is not paid for these missed meal and rest breaks.
211 ENsIGN’s UNLAWFUL WAGE-AND~HoUR PoLICnrs lN CALIFORNIA
25 6. From at least lune 2008 to present (the “Class Period”), Ensign has
26 maintained illegal work policies that uniformly affect the class of Therapists. These
:; policies require, encourage, and permit Therapists to perform their work in

 

 

 

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1 violation of California labor laws under the following unlawful conditions:
2 7. Ensign has further required Plaintiff and the Class to:
3 a. Work without being provided timely itemized statements
11 accurately showing the Therapists’ total hours worked, as well
5 as required overtime compensation and meal-and-rest break
6 premiums;
7 b. Work without their employer maintaining accurate payroll
8 records showing the hours worked daily by Therapists; and
9 c. Work without being paid full compensation owed (including
10 unpaid overtime) in a prompt and timely manner upon
11 termination of employment
12 STATUTORY DAMAGES OWED To THE CALlFoRNlA CLAss
13 8. Based on the above, Plaintiff is owed at least the following by
111 Defendants:
15 a. Unpaid Wages: California Labor Code §§ 204 and 1197 require
16 Ensign to pay Plaintiff at least the minimum wage for all wages
17 due. Plaintiff was not paid at all for any work performed passed.,
18 her eight-hour shift and as such, are owed wages for this work.
19 The failure to provide all wages due constitutes a violation of
20 PAGA and entitles Plaintiff to statutory penalties under Cal.
21 Labor Code §§ 558 and 2699, et seq.
22 b. Unpaid Overn'me: California’s wage-and~hour laws, including
23 Labor Code Section 510 and the applicable Wage Order legally
211 require Ensign to pay Plaintiff and the Class Mernbers
25 overtirne. As a result of Ensign’s failure to compensate
:: Plaintiff and the Class for such overtime, Ensign must make
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restitution to Plaintiff and the Class for all back overtime pay,
plus interest

Lost Meal Period Pay.' California Labor Code Sections 226.7
and 512 and the applicable Wage Order require Ensign to
provide Plaintiff and Class Members full and uninterrupted off-
duty meal periods. For each day Plaintiff and the Class did not
take lawful meal periods, they are owed an additional hour of
pay at their regular rate.

Losz‘ Rest Period Pay.' California Labor Code Sections 226.7
and 512 and the applicable Wage Order require Ensign to
authorize and permit Plaintiff and the Class Members to take
full and uninterrupted rest periods. For each day Plaintiff and
the Class Members were not authorized and permitted to take
lawful rest periods, they are owed an additional hour of pay at
their regular rate.

Failure 1‘0 Provr'de Accumre ltemized Wage Starements: Since
at least June 2008, Ensign has not furnished each of the Class
Members with timely itemized wage statements accurately
showing total hours worked by each such Class Member, as
required by Labor Code Section 226, as well as meal-and-rest
break premiums Accordingly, Defendants owe each Class
Member 350 for the initial pay period in which Ensign failed to

provide a statement showing total hours worked (and other

required information) and $100 for each subsequent pay

period, up to a total of $4000.
Failure T 0 Tz`mely Pay Former Employees: Since at least .lune

2008, Ensign has willfully failed and refused, and continues to

 

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1 fail and refuse, to timely pay wages due for overtime
2 compensation to former Class Members at the conclusion of
2 their employment with Ensign. Accordingly, these former
2 employees are entitled to statutory penalties under Labor Code
2 Sections 201-203.

2 9. Unless this case proceeds as a class action, Defendants will likely

7 continue their illegal labor law violations with impunity. Plaintiff and the Class
2 are therefore entitled to class-wide remedy, including injunctive relief, money
9 damages, and all statutory penalties, plus interest, attorneys’ fees and all other
:1: costs associated with Defendants’ misconduct

12 FLSA CoLLECrrvE ACTION ALLEGArIoNs

12 10. Plaintiff brings the Seventh Claim for Relief as a nationwide

12 collective action pursuant to the FLSA on behalf of all Therapists employed by
12 Ensign on or after the date that is three years before the filing of the Complaint in
16 this case (herein “FLSA Collective Plaintiffs”).

12 11. At all relevant times, Plaintiff and the other FLSA Collective

12 Plaintiffs has been, and are, “similarly situated” as that term is defmed by relevant
12 case law. ln particular, the FLSA Collective Plaintiffs have substantially similar
20 job requirements, job duties, and pay provisions They have all been subject to
21 Ensign’s common decisions, policies, programs, practices, procedures, protocols,
22 routines and rules.
22 12. Ensign willfully failed and refused to pay the FLSA Collective
22 Plaintiffs at legally-required time-and-a-half rate for work in excess of 40 hours
22 per workweek and willh,illy failed to keep adequate time records as required by
26 the FLSA to complete its unlawful scheme to deprive the FLSA Collective
:; Plaintiffs their overtime wages.

 

 

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l3. The Seventh Cause of Action is properly brought under and
maintained as an opt-in collective action pursuant to Section l6 of the FLSA, 29
U.S.C. § 216(b). The FLSA Collective Plaintiffs are readily ascertainable from
Ensign’s employment and payroll records Notice can ~ and should _ be provided
to the FLSA Collective Plaintiffs via first class mail to the last address known to
Ensign. Furtherrnore, notice should be expedited due to the “rolling” statute of
limitations under the FLSA in which no claim is tolled until a Consent-to-Join is

filed with the Court.

THE PARTIES

l4. Plaintiff Judith Brubaker works as a Therapist for Victoria Health
Care, one of the facilities owned and operated by Ensign. She has been working
there since April 2008.

15. As a Therapist, Plaintiff provides the day to day rehabilitative care
and services for Ensign’s clients ln addition to these duties, Plaintiff and other
Therapists are also required to complete necessary paperwork including
maintaining treatment records and resident files, drafting progress notes on
patients, preparing evaluations of initial meetings with patients, preparing detailed
billing records, and creating a daily activity schedule

16. Ensign was formed in 1999. The company provides skilled nursing
and rehabilitative services through its ninety-nine facilities located nationwide

Ensign has 29 facilities in California, 16 in Texas, and the remaining facilities are

in Arizona, Washington, Utah, Colorado, Idaho, Nevada, Nebraska, and lowa.

All but seven of these facilities are nursing facilities The other seven are assisted
living facilities Through its facilities Ensign provides nursing and assisted living
services, physical and speech therapy, and other rehabilitative and healthcare

services lts clients are both long-term residents and short-stay patients From

 

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2008 - 2010, Ensign served nearly 30,000 patients (See Ensign Form lO-K for
Fiscal Year 2010, p. 55.)

17. Ensign is a flourishing and growing company Approximately
seventy-five percent (75%) of the company’s revenue in 2008 and 2010 came
from Medicare and Medicaid Programs Id. at 88. ln 2009, Ensign’s revenue was
$542 million This increased in 2010 to $649.5 million Since January 2009, the
company has acquired twenty facilities and a new horne health and hospice
operation In January 2010, the company purchased new skilled nursing facilities
in Idaho for $7.6 million, paid for in cash. On May l, 2010, Ensign purchased
still two more skilled nursing facilities in TeXas for approximately $8.5 million
and another home health and hospice operation in Idaho for approximately $2.7
million All of these purchases were paid in cash. Id. Needless to say, Ensign is
prospering.

18. Ensign prides itself on having a “dedicated front-line care staff, who
participates daily in the clinical and operations improvement of their individual
facilities.” Id. at S. lts staff must all comply with the Ensign Group, Employee
Compliance & Code of Conduct Manual, Ensign runs its facilities from a
centralized location called the Service Center. The Service Center, located in
Mission Viejo, California, provides “centralized information technology, human
resources, accounting, payroll, legal, risk management, education, and other key
services.” (See Ensign Form 10-K for Fiscal Year 2010, p. 8.)

19. Plaintiff sues Defendants DOES 1 through 10 under fictitious names
Their true names and capacities whether individual, corporate, associate or
otherwise, are unknown to Plaintiff. When Plaintiff ascertains their true names
and capacities, they will seek permission from this Court to amend the Complaint
to insert the true names and capacities of each fictitiously named defendant

Plaintiff is informed and believes that each of these fictitiously named defendants

 

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is responsible in some manner for the occurrences alleged herein, and that these
defendants directly and proximately caused Plaintiff s damages
20. On information and belief, at all times relevant to this Complaint,

Defendants, including the fictitiously named defendants, were the servants,
employees, joint employers, integrated employers, alter egos, successors-in-
interest, subsidiaries, affiliated companies or corporations, and joint venturers of
the other Defendants, and were, as such, acting within the course, scope and
authority of each other Defendant. Plaintiff hirther allege on information and
belief that each of the Defendants acted in concert with, and with the consent of,
each of the other Defendants, and that each of the Defendants ratified or agreed to
accept the benefit of the conduct cf each of the Defendants

JURISDICTION AND VENUE

2l. Plaintiff and each Class l\/lernber was an employee of Ensign within
the State of California and was subject to the unlawful policies at some point
during the past four years

22. This Court has original federal jurisdiction under 28 U.S.C. § 1331
because this case is brought under the Fair Labor Standards Act. This Court also
has original jurisdiction over Plaintiff and Class Members’ state law claims
pursuant to the Class Action Fairness Act of 2005. 28 U.S.C. § 1367.

23. Venue is proper in this judicial District because a substantial part of
the events and omissions giving rise to the claims occurred in this District. Venue
is also proper in this District because there is personal jurisdiction over Ensign,
and a substantial number of unnamed class members reside and work for Ensign
in this District and California. Presently and at all times, Ensign has conducted

substantial, continuous and systematic commercial activities in this District.

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24. \Nhile Plaintiff seeks a nationwide class for their FLSA “opt-in”
claims, the gravamen of this action is the California state law claims which are
subject to an “opt-out” requirement Thus, California, as opposed to any other
state, contains the vast majority of class members and witnesses Indeed, it is the
Plaintiff’s performance of work without just compensation that gives rise to the
claims here _ work that was performed by a large number, if not maj ority, of class

members in California.

FACTUAL BACKGROUND

25. Ensign operatesJ and at all times during the applicable statutory
periods, has done business in Orange County, California and elsewhere within
California lt is also employs Therapists throughout the nation

26. On information and belief, the practices and policies that are
complained of herein were enforced against hundreds of Therapists employed by
Ensign in California and nationwide during the relevant Class period.

27. Plaintiff and the other Class Members are covered, or were covered
by, California IWC Wage Order No. 4-2001, 8 Cal. Code of Reg. Section 11040
(hereinafter referred to as the “Wage Order”). As of January 1, 2000, Section 3 of
the Wage Order required employers to pay employees ll/z times their normal
hourly rate for hours worked in excess of 8 per day and in excess of 40 per week,
and at twice the normal hourly rate for hours worked in excess of 12 per day and 8
on the seventh day worked in a workweek

28. Since at least June 2008, Plaintiff has been required to perform work
for which she did not receive any compensation This work includes any work
performed after her eight hour shift. Most times, this work consists of preparing
the required paperwork including maintaining treatment records and resident files,

drafting progress notes on patients, preparing evaluations of initial meetings with

 

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patients preparing detailed billing records, and creating a daily activity schedule
Ensign did not and does not pay Plaintiff for this work even though she has
expressly informed Ensign that she cannot complete all the work within eight
hours No therapist can. Ensign has a policy of refusing to pay Plaintiff for any
work done beyond eight hours per day. Ensign has known these facts and has
required Plaintiff and other Therapists to perform this work without compensation

29. Since at least June 2008, Ensign’s Therapists, including Plaintiff,
have regularly worked in excess of 5 hours a day without being afforded full and
uninterrupted off-duty meal periods of at least a one-half hour in which they were
relieved of all duties They have also regularly worked at least 10 hours a day
without receiving a second full and uninterrupted off-duty meal period of at least
one-half hour in which they were relieved of all duties Ensign has known these
facts and permitted, encouraged, or required Therapists to forego these meal
periods without compensating them for the missed meal periods The Therapists
do not fall within any exemption to the meal period requirements of the Labor
Code and the Wage Order.

30. Since at least ]une 2008, Plaintiff and the Class Members have
regularly worked over a four-hour period (or major fraction thereof) without
Ensign authorizing and permitting them to take a paid lO-minute rest period.
Ensign has known these facts and suffered, permitted, encouraged, or required
Plaintiff and Class Members to forego these rest periods Plaintiff and Class
Members do not fall within any exemption to the rest period requirements of the
Labor Code and the Wage Order.

31. Since lune 2008, Ensign has failed to furnish each of its Therapists
with timely itemized wage statements accurately showing total hours worked,
required overtime compensation meal-and-rest break premiums and other

information required to be disclosed by California law.

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32. Since at least June 2008, Ensign has failed to keep payroll records
showing the hours worked daily by the Therapists.
33. Since at least lune 2008, Ensign has violated the UCL by the

violations of California law as described above.

RULE 23 CLAss AcrroN ALLEGATIONS

34. As Therapists at Ensign, Plaintiff and the Class regularly worked in
excess of 8 hours per day and in excess of 40 hours per week without payment of
proper overtime compensation as required by California state wage and hour laws
Plaintiff and the Class were also encouraged and/or required to work in excess of
5 hours per day without taking a full and uninterrupted off-duty meal period of at
least one-half hour and/or to work in excess of 10 hours per day without taking a
second full and uninterrupted off-duty meal period of at least one-half hour.
Plaintiff and the Class were also denied rest periods to which they were entitled
under California law.

35. As a direct result of Ensign’s unlawful conduct, Plaintiff and the
Class have been deprived of the wages, overtime, and other legal protections to
which they are entitled under California’s wage-and-hour laws

36. At all relevant times, Ensign was and is legally responsible for all of
the unlawful conduct, policies, practices acts and omissions as described in each
and all of the foregoing paragraphs as the employer of Plaintiff and Class
Members. Further, Ensign is responsible for each of the unlawful acts or

omissions complained of herein under the doctrine of “respondeat superior.” The

_ conduct of Ensign managers and supervisors was at all relevant times undertaken

as employees of Ensign, acting within the scope of their employment or authority
in all of the unlawful activities described in each and all of the foregoing

paragraphs

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1 37. As a result of Defendants’ misconduct, Plaintiff seeks monetary
2 damages and civil penalties Plaintiff brings this action on behalf of herself and
3 all others similarly situated as a class action pursuant to Federal Rules of Civil
11 Procedure Rule 23. The Class that Plaintiff seeks to represent is composed of and
5 defined as follows:
6 All current and former California-based Therapists
7 employed by Ensign at any time within the last four
8 years from the filing of the original Complaint to the
9 time of trial of this matter.

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11 38. Plaintiff also seeks to represent a subclass, which is defined as

12 follows:

13 All former California-based Therapists employed by

14 Ensign at any time Within the last four years from

15 filing the original Complaint to the time of trial of

16 this matter who did not receive all Wages due and

17 owing to them upon leaving employment with

13 Ensign.

19

2() 39. Plaintiff also seeks to represent a subclass, which is defined as

21 follows:

22 All current and former California-based Therapists

23 employed by Ensign at any time within the last four

24 years from filing the original Complaint to the time

25 of trial of this matter Who did not receive legally

26 required meal periods or compensation in lieu

27 thereof.

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1
40. Plaintiff also seeks to represent a subclass, which is defined as
2
follows:
3
All current and former California-based Tlierapists
4
employed by Ensign at any time within the last four
5
years from filing the original Complaint to the time
6
of trial of this matter who did not receive legally
7
required rest periods or compensation in lieu
8
thereof.
9
10 _ _ . .
41. Plaintiff also seeks to represent a subclass, which is defined as
1 1
follows:
12
All current and former California-based Therapists
13
employed by Ensign at any time within applicable
14
statute of limitations period who did not receive
15
proper itemized wages statements as required by
16
Labor Code Section 226(a).
17
18 . . . . . . . . .
42. Throughout discovery in this litigation Plaintiff may find it
19 , . .
appropriate and/or necessary to amend the definition of the Class and Subclasses.
20 . . . . .
In any event, Plaintiff will formally define and designate a class definition at such
21
time when Plaintiff seeks to certify the Class and Subclasses.
22 . . .
43. This action has been brought and may properly be maintained as a
23
class action under Federal Rules of Civil Procedure Rule 23 because there is a
24 . . . . . .
well-defined community of interest in the litigation and the proposed class is
25 `
easily ascertainable:
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/ / /
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a. anerosi`iy: The potential members of the Class as defined are so
numerous that joinder of all the members of the Class is impracticable While the
precise number of Class l\/lembers has not been determined at this time, Plaintiff is
informed and believes that Ensign has employed at least 100 people as Tlierapists
in California during the Class Period.

b. Commoriali'ly: There are questions of law and fact common to the
Plaintiff and the Class that predominate over any questions affecting only
individual members of the Class These common questions of law and fact
include, without limitation:

i. Whether Ensign violated Wage Order No. 4-2001, Labor Code
Section 510, and the FLSA by failing to pay overtime compensation to Therapists
who worked in excess of 40 hours per week and/or 8 hours a day.
ii. Whether Ensign violated Business and Professions Code
Section 17200 by failing to pay overtime compensation to Therapists who worked
in excess of 40 hours per week and/or 8 hours a day.
iii. Whether Ensign violated Wage Order No. 4-2001 and Labor
Code Sections 226.7 and 512 by failing to afford Therapists proper meal and rest
periods
iv. Whether Ensign violated Business and Professions Code
Section 17200 by failing to afford Therapists proper meal and rest periods
v. Whether Ensign violated Wage Order No. 4-2001 and Labor
Code Sections 226 and 1174 by failing to keep accurate records of employees’
hours of work, the beginning and end of each work period, meal periods, gross
wages earned, and net wages earned
vi. Whether Ensign violated Labor Code Section 1174 by failing

to keep accurate records of employees’ hours of work.
/ / /

 

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vii. Wliether Ensign violated Labor Code Section 226 by failing to
timely furnish each Therapist with a statement accurately showing the total hours
the Therapist worked each pay period.

viii. Whether Ensign violated Business and Professions Code
Section 17200 by failing to timely furnish each Therapist with a statement
accurately showing the total hours the Therapists worked each pay period.

ix. Whether Ensign violated Labor Code § 201-203 by failing to
pay overtime wages due and owing at the time that Plaintiff’ s and other Class
Members’ employment with Ensign was terminated

x. Whether Ensign violated Business and Professions Code
Section 17200 by failing to pay overtime wages due and owing at the time that
Plaintiff’ s and other Class Members’ employment was terminated with Ensign

xi. Whether Ensign violated Labor Code Section 226 by failing to
timely minish Plaintiff and Class Member with a statement accurately showing
the total hours worked each pay period, the net wages earned, and gross wages
earned.

xii. Whether Ensign violated Business and Professions Code
Section 17200 by failing to timely furnish Plaintiff and Class 1\/_[ember with a
statement accurately showing the total hours worked each pay period, the net
wages earned, and gross wages earned.

xiii. What were the policies practices programs procedures
protocols, and plans of Ensign regarding payment of overtime wages for all hours
worked by Therapists.

xiv. What proof of hours is sufficient where Ensign intentionally
failed to maintain time records
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c. Typi'cali`iy: Plaintist claims are typical of the claims of the Class
Plaintiff and all members of the Class sustained injuries and damages arising out
of and caused by Ensign’s common course of conduct in violation of law as
alleged herein
v d. Adequacy OfRepresenrarion: Plaintiff is a member of the Class and
will fairly and adequately represent and protect the interests of the Class
Members. Counsel who represent the Plaintiff are competent and experienced in
litigating large wage-and-hour and other employment class actions
e. Superi`ority OfClciss Aci‘i'on: A class action is superior to other

available means for the fair and efficient adjudication of this controversy
individual joinder of all Class Members is not practicable, and qiiestions of law
and fact common to the Class predominate over any questions affecting only
individual members of the Class Each Class Member has been damaged and is
entitled to recovery by reason of Ensign’s illegal policies and practices Even if
every individual Class member could afford individual litigation, the court system
could not. lt would be unduly burdensome to the court iri which the individual
litigation of the numerous cases would proceed. lndividualized litigation would
magnify the delay and expense to all parties and to the court system resulting from
multiple trials of the same complex factual issues ln addition, if each individual
Class i\/lernber was required to Hle an individual lawsuit, the large corporate
Defendants would necessarily gain an unconscionable advantage because
Defendants would be able to exploit and overwhelm the limited resources of each
individual Class l\/lernber with Defendants’ vastly superior financial and legal
resources By contrast, the conduct of this action as a class action presents few
management difficulties conserves the resources of the parties and of the court

system, and protects the rights of each Class Member. Plaintiff anticipates no

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difficulty in the management of this action as a class action since the unlawful
conduct at issue is the same with respect to all Class l\/lembers.

44. The prosecution of separate actions by individual Class l\/lembers
may create a risk of adjudications with respect to them that would, as a practical
matter, be dispositive of the interests of other Class Members not parties to such
adjudication or that would substantially impair or impede the ability of such non-
party Class l\/lembers to protect their interests

45. The prosecution of individual actions by Class l\/lembers could
establish inconsistent standards of conduct for Ensign

46. Ensign has acted, or refused to act, in respects generally applicable to
the Class as a whole, thereby making appropriate final and injunctive relief or
corresponding declaratory relief with regard to members of the Class as a whole,
as requested herein Likewise, Ensign’s conduct as described above is unlawfiil,
continuing, and capable of repetition and will continue unless restrained and

enjoined by the Court.

Finsr CAUsii or AC'rioN
(Unlawful Failure To Pay Overtime
Compensation Against All Defendants)

47. Plaintiff repeats and realleges each and every allegation set forth in
all of the foregoing paragraphs las if fully set forth herein

48. By its failure to pay overtime compensation as alleged above, Ensign
has violated and continues to violate the provisions of Labor Code Sections 510
and 1194, as well as Wage Order No. 4-2001, which require employers to pay
overtime compensation to non-exempt employees

49. By failing to keep adequate time records required by Labor Code
Sections 226 and 1174, Ensign has made it difficult to calculate the overtime

compensation due to Plaintiff and the Class Members.

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50. As a result of Ensign’s unlawful acts Plaintiff and Class l\/lembers
2 . . . .
have been deprived of overtime compensation m amounts to be
3 . . . .
determined at trial, and are entitled to recovery of such amounts plus interest
4
thereon, attorneys’ fees and costs under Labor Code Section 1194.
5 v
51. Accordingly, Plaintiff and the Class respectfully request that the
6 . . . .
‘ Court award judgment and relief in their favor as described herein
7
3 sECoNi) CAUSE or ACTIoN
9 (Unlawful Failure To Provide Legally Mandated
l\/Ieal Periods Against All Defendants)
10 . . . ' .
52. Plaintiff repeats and realleges each and every allegation set forth in
1 1 `
all of the foregoing paragraphs as if hilly set forth herein
12
53. At all relevant times Labor Code Sections 226.7 and 512, __and lWC
13
Wage Order No. 4-2001, provided that employees must receive a first meal period
14
of not less than 30 minutes before working more than 5 hours in workday, and a
15
second meal period of not less than 30 minutes before working more than 10
16
hours in a workday.
17
54. Plaintiff and Class Members were regularly compelled to work in
1 8
excess of 5 and 10 hours per day without being afforded at least one-half hour
19
meal periods in which they were relieved of all duties as required by
20
Sections 226.7 and 512 and the applicable Wage Order.
21 '
55. Because Ensign failed to afford full and uninterrupted off-duty meal
22
periods it is liable to Plaintiff and Class Members for one hour of additional pay
23
at the regular rate of compensation for each workday that the full and
24
uninterrupted off-duty meal periods were not provided, pursuant to Labor Code
25
Section 226.7 and the applicable Wage Order, for the applicable liability period
26
prior to the filing of this Complaint, up to and including the present
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56. Accordingly, Plaintiff and the Class respectfully request that the

Court award judgment and relief in their favor as described herein

THIRD CA`USE OF ACTION
(Unlawful Failure To Provide Legally Mandated
Rest Breaks Against All Defendants)

57. Plaintiff repeats and realleges each and every allegation set forth in
all of the foregoing paragraphs as if fully set forth herein

58. At all relevant times Labor Code Section 226.7 and the applicable
Wage Order provided that employees must be authorized and permitted to take
rest periods of 10 consecutive minutes for each 4 hours worked (or major fraction
thereof).

59. Plaintiff and the Class were regularly compelled to work over a four
hour period (or major fraction thereof) without Ensign authorizing and permitting
them to take a paid 10-minute rest period as required by Labor Code Section 226.7
and the applicable Wage Order.

60, Because Ensign failed to authorize and permit uninterrupted off-duty
rest periods it is liable to Plaintiff and Class Members for one hour of additional
pay at the regular rate of compensation for each workday that the full and
uninterrupted off-duty rest periods were not provided, pursuant to Labor Code
Section 226.7 and Wage Order No. 4-2001, for the applicable liability period prior
to the filing of this Complaint, up to and including the present

FOURTI:I CAUSE OF ACTI()N
(Faiiure To Furnish Accurate Itemized Wage
Statements Against All Defendants)

61. Plaintiff repeats and realleges each and every allegation set forth in
all of the foregoing paragraphs as if fully set forth herein
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/ / /

 

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62. California Labor Code Section 226(a) requires employers semi-
monthly or at the time of each payment of wages to furnish each employee with a
statement that accurately reflects the total number of hours worked. Labor Code
Section 226(e) provides that if an employer knowingly and intentionally fails to
provide a statement itemizing, inter alici, the total hours worked by the employee,
then the employee is entitled to recover the greater of all actual damages or 850
for the initial violation and $ 100 for each subsequent violation, up to $4000.

63. Ensign knowingly and intentionally failed to minish, and continues
to knowingly and intentionally fail to furnish, Plaintiff and Class l\/lembers with
timely, itemized statements that accurately reflect total number of hours worked as
required by Labor Code Section 226(a). This failure has injured Plaintiff and the
Class Members by misrepresenting and depriving them of hour, wage and
earnings information they are entitled to, causing them not to be paid wages they
are entitled to, causing them to rely on inaccurate earnings statements in dealings
with third parties eviscerating their right under Labor Code § 226(b) to review
itemized wage statement information by inspecting the eniployer’s underlying
records and deceiving them regarding their entitlement to overtime and meal and
rest period wages As a result, Ensign is liable to (i) Plaintiff and the Class who
suffered actual damages for the three-year period prior to the filing of the
Complaint; and (ii) Plaintiff and the Class Members who did not suffer actual
damages or whose statutory penalties exceed actual damages for the statutory
penalties provided in Labor Code Section 226(e) for the one-year period prior to
the filing of this Complaint, up to and including the present

64. Accordingly, Plaintiff and the Class respectfully request that the

Court award judgment and relief in their favor as described herein

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F]]F`TH CAUSE OF ACTION
(Violation Of Business & Professions Code Section 17200
Against All Defendants)

65. Plaintiff repeats and realleges each and every allegation contained in
the foregoing paragraphs as if fully set forth herein

66. Ensign’s acts constitute a continuing and ongoing unlawful activity
prohibited by the UCL and justifies the issuance of an injunction restitution and
other equitable relief pursuant to Business & Professions Code Section 17203.

67. Labor Code Section 90.5(a) articulates the public policy of this State
to vigorously enforce minimum labor standards including the requirements to pay
overtime and benefits pursuant to Labor Code Sections 510, 515, 550-553, 1194,
and 1198, to provide accurate itemized wage statements and keep payroll records
pursuant to Labor Code Sections 226, 226.3, 1174, and 1174.5; and to provide
adequate meal and rest periods pursuant to Labor Code Sections 226.7 and 512.
Ensign’s conduct of requiring Therapists to work an excessive amount of overtime
hours without providing overtime compensation without providing accurate
itemized wages statements and without providing adequate meal and rest periods
directly violates state law, constitutes and was intended to constitute unfair
competition and unlawful and unfair acts and practices within the meaning of the
UCL.

68. Through the wrongful and unlawful acts Ensign has acted contrary to
the public policy of this State

69. Ensign is engaging in unlawful business acts and practices by

violating California law including, but not limited to, Labor Code Sections 201-

203, 226, 226.7, 510, 512, 515, 550-553, 1174, 1174.5, 1194, and 1198, as well as
the applicable Wage Order. Ensign also violated the FLSA which can be used as

a predicate act for the UCL violation for the California Class l\/lembers.

 

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70. As a result of their unlawful, unfair, and/or fraudulent acts Ensign
has reaped and continues to reap unfair benefits and illegal profits at the expense
of Plaintiff and the Class Members. Therefore, under the provisions of the UCL
and Labor Code Sections 510, 515, 1194 and lWC Wage Order No. 4, Ensign
should be enjoined nom this activity and should provide restitution to Plaintiff
and Class Members of the wrongfully withheld overtime and meal and rest break
wages pursuant to Business and Professions Code Section 17203, in a sum
according to proof for the four-year period preceding the filing of this Complaint
up to and including the present

71. Accordingly, Plaintiff and the Class respectfully request that the

Court award judgment and relief in their favor as described herein

SIXTH CAUSE OF ACTION
(Waiting-Time Penalties Against All Defendants)

72. Plaintiff repeats and realleges each and every allegation made in the
foregoing paragraphs as if fully set forth herein

73. California Labor Code Section 201 requires an employer who
discharges an employee to pay compensation due and owing to said employee
immediately upon discharge Labor Code Section 202 requires an employer to
promptly pay compensation due and owing to said employee within 72 hours of
that employee’s termination of employment by resignation California Labor
Code Section 203 provides that if an employer willfully fails to pay compensation
promptly upon discharge or resignation as required under Sections 201 and 202,
then the employer is liable for waiting time penalties in the form of continued

compensation for up to 30 work days

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74. Ensign willfully failed and refused, and continues to willfully fail and
rehise, to timely pay compensation and wages including unpaid overtime pay, to
those Class l\/lembers whose employment terminated, as required by Labor Code
Sections 201-202. As a result, Ensign is liable to Plaintiff and Class Members
who are no longer employed by Ensign for waiting time penalties together with
interest thereon and attorneys’ fees and costs under California Labor Code
Section 203.7.

75. Accordingly, Plaintiff and the Class l\/lembers who are no longer
employed by Ensign respectfully request that the Court award judgment and relief

in their favor as described herein

SEVENTH CAUSE OF ACTION
(Nationwide FLSA Overtime Violation Against All Defendants)

76. Plaintiff repeats and realleges each and every allegation contained in
the foregoing paragraphs as if fully set forth herein

77. Ensign has been and continues to be, an “employer” engaged in
interstate “commerce” within the meaning of the FLSA. At all relevant times
Ensign has employed, and continues to employ, the FLSA Collective Plaintiffs as
c‘employers” under the FLSA. l\/loreover, Ensign has gross operating revenues in
excess of $500,000 and is otherwise subject to the requirements of the FLSA.

78. Throughout, at least, the last three-years Plaintiff and the other
FLSA Collective Plaintiffs regularly worked in excess of forty (40) hours per
workweek and continue to do so.

79. At all relevant times Ensign operated under and continues to operate
under a decision policy and plan and under common policies programs
practices procedures protocols routines and rules of willfully failing and refusing

to pay the FLSA Collective Plaintiffs at time and one-half rates for work in excess

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of forty (40) hours per workweek, and willfully failing to keep records required by
the FLSA even though the FLSA Collective Plaintiffs have been and are entitled
to overtime wages

80. At all relevant times Ensign defendant willfully, regularly and
repeatedly failed, and continues to fail to pay Plaintiff and other FLSA Collective
Plaintiffs at the required overtime rates for hours worked in excess of 40 hours
per woi'kweek.

81. At all relevant times defendant willfully, regularly and repeatedly
failed, and continues to fail to make, keep and preserve accurate records required
by the FLSA with respect to the Plaintiff and the other FLSA Collective Plaintiffs,
including records sufficient to accurately determine the wages and hours of
employment

82. Plaintiff and the FLSA Collective Plaintiffs seek damages in the
amount of their respective unpaid overtime compensation liquidated (double)
damages as provided by the FLSA for overtime violations and/or prejudgment
interest, attorneys’ fees and costs injunctive relief requiring Ensign to cease and
desist from its overtime-pay violations of the FLSA and comply with the FLSA’s
overtime pay requirements and such other legal and equitable relief as this Court
deems just and proper.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff on behalf of herself and the Class Members she

seeks to represent in this action request the following relief:

A. That the Court determine that Causes of Action One thru Six may be
maintained as a California class action under FRCP Rule 23; and
further determine that immediate certification to issue notice of the
FLSA claims under the Seventh Cause of Action is appropriate under
the FLSA, 29 U.S.C. § 216(b) for a nationwide class

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That the Court find that Ensign has violated the overtime provisions
of Labor Code Sections 510 and 1194, the FLSA, and Wage Order
No. 4-2001 as to the Plaintiff and the Class;

That the Court find that Ensign has violated the record-keeping
provisions of Labor Code Sections 226 and ll74(d) as to Plaintiff
and the Class;

That the Court find that Ensign has violated California Labor Code
Sections 226.7 and 512, and Wage Order No. 4-2001 by failing to
afford Plaintiff and Class Members full and uninterrupted off-duty
meal and rest periods or compensation in lieu thereof;

That the Court find that Ensign has violated California Labor Code
Section 226 by failing to timely himish Plaintiff and Class l\/lembers
itemized statements accurately showing the total hours worked by
each of them;

That the Court find that Ensign has violated Labor Code
Sections 201, 202, and 203 for willful failure to pay all
compensation owed at the time of termination of employment to
Class Mernbers;

That the Court find that Ensign has violated Business and
Professions Code Section 17200 by failing to pay its Tlierapists
overtime compensation by failing to keep proper time records by
failing to afford Therapists full and uninterrupted off-duty meal
periods and by failing to timely furnish Therapists with statements
accurately showing total hours worked;

rfhat the Court find that Ensign’s violations as described have been
willful;

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That the Court award to Plaintiff and the Class damages for the
amount of unpaid overtime compensation including interest thereon
damages for failure to timely hirnish statements accurately showing
total hours worked and penalties subject to proof at trial;

That Ensign be ordered and enjoined to pay restitution to Plaintiff
and the Class due to Ensign’s unlawful and/or unfair activities
pursuant to Business and Professions Code Sections 17200-17205;
That Ensign further be enjoined to cease and desist from unlawiiil
and/or unfair activities in violation of Business and Professions Code
Section 17200, pursuant to Section 17203;

That Plaintiff and the Class be awarded reasonable attorneys’ fees
and costs pursuant to Labor Code Sections 218.5, 226, 1194, and
26990, Civil Procedure Code Section 1021.5, FLSA, 29 U.S.C.
§ 216(b) and/or other applicable law;

That Plaintiff and the FLSA Collective Plaintiffs be awarded
damages according to proof, including liquidated damages
Prejudgrnent and postjudgment interest, as provided by law; and

That the Court award such other and further relief as this Couit may

deem appropriate

Daied; lime 7,2012 DESAILA `,

 

 

Aashish Y1111f esai ""
Attorneys or Plaintiff Judith
Biubaker, on behalf of herself
individuall_ and on behalf of all
others simi iaily situated

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DEMAND FoR JURY TRIAL

Plaintiff and the Class hereby demand a jury trial on all issues of fact or law

       

 

so triable.
Dated: June 7, 2012 DESAI LAW W, P.__:._-.
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By: ij
Aashisth esai

Attorneys for Plaintiff Judith
Brubal<er, on behalf of herself
individuall_ and on behalf of all
others simi arly situated

 

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Case 8:12-cV-00929-.]VS-.]PR Document 1 Filed 06/11/12 Page 29 of 32 Page |D #:29

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE ()F ASSIGNMENT TO UNITEI) STATES MAGlSTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge J ames V. Selna and the assigned
discovery Magistrate Judge is Jean P. Rosenbluth.

The case number on all documents filed with the Court should read as follows:

SACV12- 929 J'V'S (JPR::)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of Califoniia, the Magistrate Judge has been designated to hear discovery related
motions -

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOT|CE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
i'iied, a copy of this notice must be served on aii plaintiffs).

Subsequent documents must be filed at the following |ocation:

Western Division [)(] Southern Division Eastern Division
312 N. Spring St., Rm. G-S 411 West Fourth St., Rm. 1-053 3470 Twe|fth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Fai|ure to me at the proper location will result in your documents being returned to you.

 

CV-18 (031'06} NOT|CE OF ASS|GNMENT TO UN|TED STATES lW-\GISTRATE JUDGE FOR D|SCOVERY

Case 8:12-cV-00929-.]VS-.]PR Document 1 i|ed 06/11/12 Page 30 of 32 Page |D #:30
Aashish Y. Desai, Esq. (SBN 187394)
DESAI LAW FIRM, P.C.
8001 Irvine Center Drive, Suite 1450
lrvine, California 92618
Tel: (949) 842-3948
Fa:~;: (949) 271~41911

 

UNITE]} STATES DISTRICT COURT
CENTRAL DISTRICT ()F CALlF()RNIA

.l`udith Brubaker, an individual, on behalf of CASE NUMBER
themselves indivdually and on behalf of all others
similarly situated,

 

answers 1 sAcv12-00929 va (JPRX)
V.

 

'l`he Ensign Group, lnc., a California corporation;

jf)()ES 1 through 10, inclusive,
SUMMONS

 

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To; DEFENDANT(s):

iii lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it), you

 

must serve on the plaintiff an answer to the attached Eicornplaint l:l amended complaint

|:l counterclaim E cross-claim or a motion under Rule 12 of the 1"ed.eral Rules of Civil Procedurel The answer
or motion must be served on the plaintiffs attorney, AaShiSh Y. Desai ` Who,ge addregg ig
Desai Law Firrn, P.C, 3001 lrvine Center Drive, Suite 1459, lrvine, CA 92618 _ [f you fail 10 do SO,

 

judgment by default will be entered against you for the relief demanded in the complaint You also must file
your answer or motion with the conrt.

Clerl<, U.S. Bistrict Court

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Dated: By:

[Use 60 days ifthe defendant is rise Uniied States or a United Staies crgei’tcyj or is nn c]j“icer or employee of the Uniz‘edr"i'taz‘e.r. Aifowed
60 days by Ruie ]2(a)(3)]_

 

CV-DIA (lG/ll SUMMONS

Case 8:12-@va@saeir§risernsaiiaiiiar, Eiis@iaalrisarrasas ainreisiis@e 'D #131

CIVIL COVER SHEET

 

I (a) PLAIN'I`IFFS (Checlc box if you are representing yourself §)

.luditll Brubaker, an individual, on behalf of themselves individually and on

behalf of all others similarly situated,

DEFENDANTS
The Ensign Group, §nc., aCalifornia corporation; DOES 1 through 10, inclusive,

 

(b) Attorneys {F inn Narne, Address and Telephone Number. If you are representing

yourself, provide same.)

Desai Law Finn, P.C. - Aashish Y. Desai, Esq. {SBN 187394)
8001 lrvine Center Drive, Il'vine, CA 92618 (949) 842-8948

Attorneys ([f K_nown)

 

 

II. BASIS OF JURISDICTION (Place an X in one box only.)

01 3 Fr=rieral Querrioii (u.s.
Government Not a Party)

L__l 1 U.S. Govemnlent Plaintiff

§ 2 U,S. Government Defendant § 4 Diversity (Indicate Citizenship

lII. CITIZ.ENSHIP OF PRINCIPAL PARTIES - Fcr Diversity Cascs Only
(Place an X in one box for plaintiff and one for defendant.)

PTF DEF
§1 §1

PTF
§ 4

DEF

Citizen of This State [| 4

Incorporated or Principal Place
ofBusiness in this State

of Parties in ltern III)

 

Citizen of Another State § 2 § 2 lncorporated and Principal Place § 5 § 5
of Business in Ariother State
Citizen or Subject of a Foreign Countly § 3 § 3 Foreign Nation § 6 § 6

 

IV. ORIGIN (Place an X in one box onlyi)

rif 1 origirirl
Proceeding

Appellate Court

§ 2 Rernoved from § 3 Rernanded from § 4 Reinstated or
State Court

Reopened

§ 5 Transferred from another district (specify):

§ 6 Multi- § 7 Appeal to Disl:rict
Disu'ict Judge from
Litigation Magistl'ate Judge

 

V. REQUESTED IN COMPLA]`NT: .]URY DEMAND: §/Yes § No (Check ‘Yes’ only if demanded in complaint.)
CLAss AcrioN iiririer F.R.c.i>. 23: hires m Nri

§ MONEY DEMANDED IN COMPLAI'NT: $

 

 

VI. CAUSE OF ACT[ON (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause Do not cite jurisdictional statutes unless diversity.)
FLSA, 29 U.S.C, § 216(1)) (unpaid wages)
VII. NATURE OF SUI'I` (Plaee an X in one box only,)

 

 

 

 

 

 

 

 

 

 

  
 

 

 
     

 

 

` 'O_THER__STA_TUT:ES'\ " l CONTRACT _ ___ ` ' . _ _TORTS _ _. _ _ - ._
§ 400 State Reapportionrnent § 110 Insurance PERSONAL 1N1'URY l-‘ERSONAL . __ _ _ |3(710 Falr Labor Standards
§ 410 Antitrust § 120 Marine l:i 310 AlfPl@-H€ PROPERTY § 510 Motions to Act
§ 430 Banks and Banking § 130 Mi]ler Act ij 315 Aifplane Pl'OF-Tllct § 370 Other F rand Vacate Sentence § 720 Labor/Mgnit.
§ 450 CommerceilCC § 140 Negotiable Instruinent liability § 371 Truth in Lellding Habeas Corpus Relations
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§ 460 Deportation Overpayment & Sia“der Property Darnage § 535 Death Penalty Reporting &
§ 470 Racketeer lntiuenced Enforcement of m 330 Fed' Empl°yers’ § 385 Property Diunage § 540 Mandamusi Diselosure Act
and Corrupt ludgment Liab_ility Pl__'_o__d]._lct Llabillty Other § 740 Railway Labor Act
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AF`TER COMPLETING THE FRONT SII)E OF FORM CV-’i'l, COMPLETE THE lNFORl\/IATION REQUESTED BELOW.

 

CV-'."l (05/08)

CIVIL COVER SHEET

Pagc 1 of 2

Case Silz-Cvsenrrsiv§rissrsrsorreinr, immunities arrestee 'D #132

CIVIL COWR SH_EET

Vlli(a). I])ENTICAL CASES: Has this action been previously filed in this court and dismissed remanded or closed? leo § Yts
if yes, list case ntrn:lber(s):

 

Vlli(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present casc? [§'(No § Yes
if yes, list case number(s): ,

Civil cases are deemed related 11` a previously filed case and the present case:
{Chcclt all boxes that apply) § A, Arise from the same or closely related transactions happenings, or events; or
§ B. Cal] for determination of the same or substantially related or similar questions of law and fact; or
§ C. For other reasons Would entail substantial duplication of labor if heard by different judges; or
§ D. involve the same patent trademark or copyright an_d one of the factors identified above in a, ii or c also is present

 

IX. VEi\'-UE: (W hen completing the following information use an additional sheet if necessary.)

(a} List the County in this District; California Couoty outside of this District; State if other than California; or Foreigo Country, in which EACII named plaintiff resides
1:| Check here ifthe government its agencies or employees is a named plaintiff lt this box is checked go to item (b).

 

County in this Disn'ict; ”‘ California County outside of this Distrit:t, State, if other than Califomia', or Foreign Coul'ltry
Orange

 

 

{b) List the County in this Dislrict; California County outside of this Disl.rict; State if other than Calii`ornia; or Foreigrl Courrtry, in which EACH named defendant rcsides.
§ Check here if tile government its agencies or employees is a named defendant if this box is checlted, go to item (o).

 

Courity in this District: * California County‘ outside of this l)istrl'ct,; State, if other than California', or Foreign Couutl'y

 

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{c) List thc County in this District; California County outside of this Dism`cl; State if other than California; or Foreign Country, in which EACH claim arose
Note: In land condemnation cases, use the location of the tract ofiand involved

 

County in this DiST.l‘ict* California COUl‘lly Olliside Ofl_llis Dist\'l'et; State, if other than California; or Eoi'eign Country

 

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* Los Angeles, Grange, Sari Beruardioo, Riverside, Ventura, Santia Barbara, cr Sao Luis Obispo Couutl'cs
Note: 111 land condemnation cases ripe the location ot` the tract of land involved

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Notice to Couosel!Parties: ’l`he CV-?l (.l S-44} Civil Cover Shcet and the information contained herein neither replace nor supplementthc filing and service of pleadings
or othcrpapei's as required bylaw. 'f`his fortn, approved by tile .T udicial Conference ofthe Urn`ted States ill September 1974, is required pursuantto Local Rule 3-1 is 1101 filed
but is used by the Cterlt ofthe Court for the purpose ofstatisties, venue and initiating 1110 civil docket sheet {For more detailed instructionsj sec separate instructions sheet.)

 

l{ey to Statist.ical codes relating to Sccia] Security Cases.'

Nat'ure of Suit Codl: Abbreviatioll Substantivc Statement of Callse of Aetion

861 HlA All claims for health insurance benefits (Mcdlcare) under 'l`itle 18, PartA, of thc Sociaj Sccurity Actj as amended
Also, include claims by hospitals skilled nursing facilities, etc., for certification as providers of services under the
program {42 U.S,C. 1935¥F(b))

862 BL A§l claims l`or “Blaclc Lung” benefits under Title 4, Part B, ofthe l"ederal Coal Minc Hcalth and Safety Act of 1969,
(30 u.s.c. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Titlc 2 of the Socia] Seeurity Act, as
amcnded; plus all claims filed for cni_id’s insurance benefits based on disability (42 U.S.C. 405{g))

863 DIWW All claims filed for widows or widowch insurance benefits based on disability under Title 2 ofthe Social Security
Act, as amended (42 U.S.C. 405(g})

864 SSlD All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security

- Act, as amended

865 RSI All claims for retirement (olcl age) and survivors benefits under 'l`itle 2 of the Social Security Act, as amended (42

U.s.c, (g))

 

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